
*730OPINION.
Marquette:
It is alleged, in the petition filed herein, that Ricks and McCreight entered into the Giles Bay Lumber Co. transaction, not as individuals, but as agents for the petitioner; that the loss incurred in that transaction was the petitioner’s loss and that it is *731entitled to deduct the amount thereof in computing its net income for the years 1918,1919, and 1920. However, at the hearing, it abandoned its contention that it is entitled to spread the loss over the years named, and contended that the loss actually occurred in the year 1920 and that the entire amount thereof is a proper deduction in that year.
The testimony and other evidence presented herein are conflicting, contradictory, and confusing. Indeed, from the record, it is almost impossible to ascertain what the true facts of the transaction in question were. While there is some testimony to the effect that Nicks and McCreight entered into the transaction on behalf of the petitioner, there is other evidence, at least equally convincing, that they intended to act and considered that they were acting as individuals. Upon consideration of the entire record, we are of the opinion that we would not be justified in disturbing the determination of the Commissioner that the loss from the transaction was a loss of Ricks and McCreight as individuals. In view of this conclusion, it is unnecessary for us to determine in what year the loss occurred.

Judgment will he entered for the Commissioner.

